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                                                           EXHIBIT 9
                                               UNITED STATES PATENT NO. 10,536,714
                                CLAIM CHART FOR INFRINGEMENT OF CLAIM 9 BY ASUS ACCUSED PRODUCTS

As demonstrated in the chart below, ASUS directly and indirectly infringes at least claim 9 of US 10,536,714 (the “’714 Patent”). ASUS
directly infringes, contributes to the infringement of, and/or induces infringement of the ’714 Patent by making, using, selling, offering
for sale, and/or importing into the United States the Accused Products that are covered by one or more claims of the ’714 Patent. The
Accused Products are devices that decode H.265-compliant video and/or encode video into H.265-compliant formats. For example, the
ASUS Q543MV Notebook (“ASUS Q543MV”) is a representative product for other ASUS devices that decode H.265-compliant video
and/or encode video into H.265-compliant formats.

       The ASUS Q543MV contains at least one video decoder that helps decode H.265-compliant video. Additionally, the ASUS
Q543MV contains at least one video encoder that helps encode video into H.265-compliant video formats. 1 While evidence from the
ASUS Q543MV is specifically charted herein, the evidence and contentions charted herein apply equally to the other ASUS Accused
Products that decode H.265-compliant video. On information and belief, the evidence and contentions charted herein apply equally to
the other ASUS Accused Products that encode video into H.265-compliant formats.

      No part of this exemplary chart construes, or is intended to construe, the specification, file history, or claims of the ’714 Patent.
Moreover, this exemplary chart does not limit, and is not intended to limit, Nokia’s infringement positions or contentions.

        The following infringement chart includes exemplary citations to ITU-T Rec. H.265 (12/2016) High efficiency video coding
(available at https://www.itu.int/rec/T-REC-H.265-201612-S/en) (the “H.265 Standard”). The cited functionality has been included in
editions of the H.265 Standard since April 2013 and remains in current editions of the H.265 Standard. Any ASUS device that includes
a decoder that practices the functionality in any of these editions of the H.265 Standard (“H.265 Decoder”) practices claims of the ’714
Patent. Thus, the Accused Products each practice the H.265 Standard and are covered by claims of the ’714 Patent.

       Nokia contends each of the following limitations is met literally, and, to the extent a limitation is not met literally, it is met under
the doctrine of equivalents. 2



1
 See, e.g., https://www.asus.com/us/laptops/for-home/everyday-use/asus-vivobook-pro-15-oled-q543/techspec/;
https://www.intel.com/content/www/us/en/products/sku/236849/intel-core-ultra-9-processor-185h-24m-cache-up-to-5-10-ghz/specifications.html;
https://developer.nvidia.com/video-encode-and-decode-gpu-support-matrix-new.
2
 This claim chart is based on the information currently available to Nokia and is intended to be exemplary in nature. Nokia reserves all rights to update and
elaborate its infringement positions, including as Nokia obtains additional information during discovery.

                                                                                1
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                                                  EXHIBIT 9
                                      UNITED STATES PATENT NO. 10,536,714
                       CLAIM CHART FOR INFRINGEMENT OF CLAIM 9 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 10,536,714                                        ASUS ACCUSED PRODUCTS
9. [A] A method comprising: Each of the Accused Products, such as the ASUS Q543MV, performs a method comprising the limitations
                            below.

                             For example, and without limitation, the Asus Q543MV uses hardware-accelerate video decoding and
                             includes an NVIDIA GeForce RTX 4060 Laptop graphics processing unit (“GPU”) and an Intel Core Ultra
                             9 Processor 185H.




                             Source: https://www.asus.com/us/laptops/for-home/everyday-use/asus-vivobook-pro-15-oled-q543/techspec/
                             (last accessed March 6, 2025).




                                                             2
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                                                 EXHIBIT 9
                                     UNITED STATES PATENT NO. 10,536,714
                      CLAIM CHART FOR INFRINGEMENT OF CLAIM 9 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 10,536,714                                           ASUS ACCUSED PRODUCTS
                             Source:    https://www.intel.com/content/www/us/en/products/sku/236849/intel-core-ultra-9-processor-185h-
                             24m-cache-up-to-5-10-ghz/specifications.html (last accessed March 6, 2025)(specifications for Intel Core Ultra
                             9 185H).




                             Source: https://developer.nvidia.com/video-encode-and-decode-gpu-support-matrix-new (last accessed March
                             6, 2025)(row for 4060 Laptop GPU).

                             For example, an ASUS Q543MV was used to playback an H.265-compliant video.




                                                               3
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                                                 EXHIBIT 9
                                     UNITED STATES PATENT NO. 10,536,714
                      CLAIM CHART FOR INFRINGEMENT OF CLAIM 9 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 10,536,714                                         ASUS ACCUSED PRODUCTS




                             Source: Screenshot of H.265-compliant video playback on ASUS Q543MV.

                             For example, and without limitation, the H.265 Standard specifies the following regarding the decoding
                             process. Each of the ASUS Accused Products performs a method comprising the limitations below.


                                  3 Definitions
                                  For the purposes of this Recommendation | International Standard, the following definitions apply.
                                  ...

                                                             4
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                                                    EXHIBIT 9
                                        UNITED STATES PATENT NO. 10,536,714
                         CLAIM CHART FOR INFRINGEMENT OF CLAIM 9 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 10,536,714                                             ASUS ACCUSED PRODUCTS
                                       3.12 bitstream: A sequence of bits, . . . , that forms the representation of coded pictures and
                                       associated data forming one or more coded video sequences (CVSs).
                                       ...
                                       3.25 coded picture: A coded representation of a picture . . .
                                       ...
                                       3.44 decoding process: The process specified in this Specification that reads a bitstream and derives
                                       decoded pictures from it.


                                 ITU-T Rec. H.265 (12/2016) High efficiency video coding at pp. 4 – 7.

[B] selecting a first spatial    Each of the Accused Products, such as the ASUS Q543MV, performs a method comprising selecting a first
motion vector prediction         spatial motion vector prediction candidate from a set of spatial motion vector prediction candidates for an
candidate from a set of          encoded block of pixels as a potential spatial motion vector prediction candidate to be included in a motion
spatial motion vector            vector prediction list for a prediction unit of the encoded block of pixels, where the motion vector prediction
prediction candidates for an     list comprises motion information of the spatial motion vector prediction candidates.
encoded block of pixels as a
potential spatial motion         For example, and without limitation, the H.265 Standard specifies the following regarding the decoding
vector prediction candidate to   process. The Accused Products perform a method comprising selecting a first spatial motion vector
be included in a motion          prediction candidate from a set of spatial motion vector prediction candidates for an encoded block of pixels
vector prediction list for a     as a potential spatial motion vector prediction candidate to be included in a motion vector prediction list for
prediction unit of the           a prediction unit of the encoded block of pixels, where the motion vector prediction list comprises motion
encoded block of pixels,         information of the spatial motion vector prediction candidates, corresponding to the decoding process
where the motion vector          specified by the H.265 Standard.
prediction list comprises
motion information of the        As specified in Subclause 8.5.3.2.3 of the H.265 Standard, the spatial motion vector prediction candidates
spatial motion vector            A0, A1, B0, B1, and B2 (see Figure 8-3) are processed in the order A1, B1, B0, A0, and B2. For each
prediction candidates;           location A1, B1, B0, A0, and B2, the Accused Products check the availability of the block as specified in
                                 Subclause 6.4.2. If a block is coded in intra-coding or not available (e.g., the block is outside of the current

                                                                    5
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                                                 EXHIBIT 9
                                     UNITED STATES PATENT NO. 10,536,714
                      CLAIM CHART FOR INFRINGEMENT OF CLAIM 9 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 10,536,714                                                 ASUS ACCUSED PRODUCTS
                             slice or tile), its availability flag is set to FALSE, and it is not considered as a candidate for motion vector
                             prediction and it is not added to the candidate list.

                             The following specifications provide further evidence of how each of the Accused Products operates:

                                    8.5.3.2.3 Derivation process for spatial merging candidates

                                     ...

                                     For the derivation of availableFlagA1, refIdxLXA1, predFlagLXA1 and mvLXA1 the following
                                     applies:
                                     – The luma location ( xNbA1, yNbA1 ) inside the neighbouring luma coding block is set equal to
                                     ( xPb − 1, yPb + nPbH ).
                                     – The availability derivation process for a prediction block as specified in clause 6.4.2 is invoked
                                     with the luma location ( xCb, yCb ), the current luma coding block size nCbS, the luma prediction
                                     block location ( xPb, yPb ), the luma prediction block width nPbW, the luma prediction block
                                     height nPbH, the luma location ( xNbA1, yNbA1 ) and the partition index partIdx as inputs, and the
                                     output is assigned to the prediction block availability flag availableA1.
                                     ...
                                    For the derivation of availableFlagB1, refIdxLXB1, predFlagLXB1 and mvLXB1 the following
                                    applies:

                                    –       The luma location ( xNbB1, yNbB1 ) inside the neighbouring luma coding block is set equal
                                    to ( xPb + nPbW − 1, yPb − 1 ).

                                    –       The availability derivation process for a prediction block as specified in clause 6.4.2 is
                                    invoked with the luma location ( xCb, yCb ), the current luma coding block size nCbS, the luma
                                    prediction block location ( xPb, yPb ), the luma prediction block width nPbW, the luma prediction


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                                                 EXHIBIT 9
                                     UNITED STATES PATENT NO. 10,536,714
                      CLAIM CHART FOR INFRINGEMENT OF CLAIM 9 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 10,536,714                                        ASUS ACCUSED PRODUCTS
                                 block height nPbH, the luma location ( xNbB1, yNbB1 ) and the partition index partIdx as inputs,
                                 and the output is assigned to the prediction block availability flag availableB1.
                                ...
                                 For the derivation of availableFlagB0, refIdxLXB0, predFlagLXB0 and mvLXB0 the following
                                 applies:

                                 –       The luma location ( xNbB0, yNbB0 ) inside the neighbouring luma coding block is set equal
                                 to ( xPb + nPbW, yPb − 1 ).

                                 –       The availability derivation process for a prediction block as specified in clause 6.4.2 is
                                 invoked with the luma location ( xCb, yCb ), the current luma coding block size nCbS, the luma
                                 prediction block location ( xPb, yPb ), the luma prediction block width nPbW, the luma prediction
                                 block height nPbH, the luma location ( xNbB0, yNbB0 ) and the partition index partIdx as inputs,
                                 and the output is assigned to the prediction block availability flag availableB0.
                                ...
                                For the derivation of availableFlagA0, refIdxLXA0, predFlagLXA0 and mvLXA0 the following
                                applies:

                                – The luma location ( xNbA0, yNbA0 ) inside the neighbouring luma coding block is set equal to (
                                xPb − 1, yPb + nPbH ).

                                – The availability derivation process for a prediction block as specified in clause 6.4.2 is invoked
                                with the luma location ( xCb, yCb ), the current luma coding block size nCbS, the luma prediction
                                block location ( xPb, yPb ), the luma prediction block width nPbW, the luma prediction block
                                height nPbH, the luma location ( xNbA0, yNbA0 ) and the partition index partIdx as inputs, and
                                the output is assigned to the prediction block availability flag availableA0.
                                ...
                                For the derivation of availableFlagB2, refIdxLXB2, predFlagLXB2 and mvLXB2 the following
                                applies:

                                                          7
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                                                    EXHIBIT 9
                                        UNITED STATES PATENT NO. 10,536,714
                         CLAIM CHART FOR INFRINGEMENT OF CLAIM 9 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 10,536,714                                            ASUS ACCUSED PRODUCTS

                                      – The luma location ( xNbB2, yNbB2 ) inside the neighbouring luma coding block is set equal to (
                                      xPb − 1, yPb − 1 ).

                                      – The availability derivation process for a prediction block as specified in clause 6.4.2 is invoked
                                      with the luma location ( xCb, yCb ), the current luma coding block size nCbS, the luma prediction
                                      block location ( xPb, yPb ), the luma prediction block width nPbW, the luma prediction block
                                      height nPbH, the luma location ( xNbB2, yNbB2 ) and the partition index partIdx as inputs, and the
                                      output is assigned to the prediction block availability flag availableB2.

                               ITU-T Rec. H.265 (12/2016) High efficiency video coding at pp. 150-152.

                                      8.5.3.2.7 Derivation process for motion vector predictor candidates
                                      ...




                                                             Figure 8-3 – Spatial motion vector neighbours (informative)

                               ITU-T Rec. H.265 (12/2016) High efficiency video coding at pp. 156.

[C] determining a subset of    Each of the Accused Products, such as the ASUS Q543MV, performs a method comprising determining a
spatial motion vector          subset of spatial motion vector prediction candidates based on the location of the block associated with the
prediction candidates based    first spatial motion vector prediction candidate.
on the location of the block

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                                                    EXHIBIT 9
                                        UNITED STATES PATENT NO. 10,536,714
                         CLAIM CHART FOR INFRINGEMENT OF CLAIM 9 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 10,536,714                                          ASUS ACCUSED PRODUCTS
associated with the first  For example, the spatial motion vector prediction candidates A1, B1, B0, A0, and B2 are processed in this
spatial motion vector      order. For example, when the Accused Products select spatial motion vector prediction candidate at position
prediction candidate;      B2 as a potential candidate, they determine a subset of candidates as (B1, A1). See Steps 8 and 9 in Subclause
                           8.5.3.2.3. In another example, when B0 is selected, the Accused Product determine the subset as (B1). See
                           Step 4 in Subclause 8.5.3.2.3. In yet another example, when A0 is selected, the Accused Products determine
                           the subset as (A1). See Step 6 in Subclause 8.5.3.2.3; see Subclause 8.5.3.2.3.

                                     8.5.3.2.3 Derivation process for spatial merging candidates
                                     ...
                                     For the derivation of availableFlagB1, refIdxLXB1, predFlagLXB1 and mvLXB1 the following
                                     applies:
                                     – The luma location ( xNbB1, yNbB1 ) inside the neighbouring luma coding block is set equal to
                                        ( xPb + nPbW − 1, yPb − 1 ).
                                     ...
                                     – The variables availableFlagB1, refIdxLXB1, predFlagLXB1 and mvLXB1 are derived as follows:
                                        – If one or more of the following conditions are true, availableFlagB1 is set equal to 0, both
                                          components of mvLXB1 are set equal to 0, refIdxLXB1 is set equal to −1 and predFlagLXB1 is
                                          set equal to 0, with X being 0 or 1:
                                          ...
                                           2. availableA1 is equal to TRUE and the prediction units covering the luma locations
                                              ( xNbA1, yNbA1 ) and ( xNbB1, yNbB1 ) have the same motion vectors and the same
                                              reference indices.
                                     ...
                                     For the derivation of availableFlagB0, refIdxLXB0, predFlagLXB0 and mvLXB0 the following
                                     applies:
                                     – The luma location ( xNbB0, yNbB0 ) inside the neighbouring luma coding block is set equal to
                                       ( xPb + nPbW, yPb − 1 ).


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                                                 EXHIBIT 9
                                     UNITED STATES PATENT NO. 10,536,714
                      CLAIM CHART FOR INFRINGEMENT OF CLAIM 9 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 10,536,714                                      ASUS ACCUSED PRODUCTS
                               ...
                               – The variables availableFlagB0, refIdxLXB0, predFlagLXB0 and mvLXB0 are derived as follows:
                                   – If one or more of the following conditions are true, availableFlagB0 is set equal to 0, both
                                     components of mvLXB0 are set equal to 0, refIdxLXB0 is set equal to −1 and predFlagLXB0 is
                                     set equal to 0, with X being 0 or 1:
                                     ...
                                     4. availableB1 is equal to TRUE and the prediction units covering the luma locations
                                        ( xNbB1, yNbB1 ) and ( xNbB0, yNbB0 ) have the same motion vectors and the same
                                        reference indices.
                               ...
                               For the derivation of availableFlagA0, refIdxLXA0, predFlagLXA0 and mvLXA0 the following
                               applies:
                               – The luma location ( xNbA0, yNbA0 ) inside the neighbouring luma coding block is set equal to
                                  ( xPb − 1, yPb + nPbH ).
                               ...
                               – The variables availableFlagA0, refIdxLXA0, predFlagLXA0 and mvLXA0 are derived as follows:
                                   – If one or more of the following conditions are true, availableFlagA0 is set equal to 0, both
                                      components of mvLXA0 are set equal to 0, refIdxLXA0 is set equal to −1 and predFlagLXA0 is
                                      set equal to 0, with X being 0 or 1:
                                   ...
                                     6. availableA1 is equal to TRUE and the prediction units covering the luma locations ( xNbA1,
                                        yNbA1 ) and ( xNbA0, yNbA0 ) have the same motion vectors and the same reference
                                        indices.
                               ...
                               For the derivation of availableFlagB2, refIdxLXB2, predFlagLXB2 and mvLXB2 the following
                               applies:


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                                                 EXHIBIT 9
                                     UNITED STATES PATENT NO. 10,536,714
                      CLAIM CHART FOR INFRINGEMENT OF CLAIM 9 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 10,536,714                                      ASUS ACCUSED PRODUCTS
                                  – The luma location ( xNbB2, yNbB2 ) inside the neighbouring luma coding block is set equal to
                                     ( xPb − 1, yPb − 1 ).
                                  ...
                                  – The variables availableFlagB2, refIdxLXB2, predFlagLXB2 and mvLXB2 are derived as follows:
                                     – If one or more of the following conditions are true, availableFlagB2 is set equal to 0, both
                                        components of mvLXB2 are set equal to 0, refIdxLXB2 is set equal to −1 and predFlagLXB2 is
                                        set equal to 0, with X being 0 or 1:
                                     ...
                                        8. availableA1 is equal to TRUE and prediction units covering the luma locations ( xNbA1,
                                           yNbA1 ) and ( xNbB2, yNbB2 ) have the same motion vectors and the same reference
                                           indices.
                                        9. availableB1 is equal to TRUE and the prediction units covering the luma locations ( xNbB1,
                                           yNbB1 ) and ( xNbB2, yNbB2 ) have the same motion vectors and the same reference
                                           indices.
                                        ...
                                  ...

                             ITU-T Rec. H.265 (12/2016) High efficiency video coding at pp. 150-152.

                                    8.5.3.2.7 Derivation process for motion vector predictor candidates
                                    ...




                                                            11
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                                                    EXHIBIT 9
                                        UNITED STATES PATENT NO. 10,536,714
                         CLAIM CHART FOR INFRINGEMENT OF CLAIM 9 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 10,536,714                                              ASUS ACCUSED PRODUCTS




                                                               Figure 8-3 – Spatial motion vector neighbours (informative)

                                ITU-T Rec. H.265 (12/2016) High efficiency video coding at p. 156

[D] comparing motion            Each of the Accused Products, such as the ASUS Q543MV, performs a method comprising comparing
information of the first        motion information of the first spatial motion vector prediction candidate with motion information of another
spatial motion vector           spatial motion vector prediction candidate of the set of spatial motion vector prediction candidates without
prediction candidate with       making a comparison of each possible candidate pair from the set of spatial motion vector prediction
motion information of           candidates.
another spatial motion vector
prediction candidate of the     For example, when considering the spatial motion vector prediction candidate at position B2, the Accused
set of spatial motion vector    Products compare motion information for spatial motion vector prediction candidate at position B2 with
prediction candidates without   motion information of spatial motion vector prediction candidates in the subset (B1, A1) of spatial motion
making a comparison of each     vector prediction candidates. See Steps 8 and 9 in Subclause 8.5.3.2.3. Motion information of spatial motion
possible candidate pair from    vector prediction candidate at position B2 is not compared with motion information of A0, and B0. In this
the set of spatial motion       example, the Accused Products checks whether motion information at position B2 is equal to motion
vector prediction candidates;   information at position B1 and motion information at position A1. See Steps 8 and 9 in Subclause 8.5.3.2.3.
                                If motion information at position B2 is equal to motion information at either position B1 or A1, then B2 will
                                not be included in the list.

                                As another example, the Accused Products compare motion information for spatial motion vector prediction
                                candidate at position A0 with motion information of spatial motion vector prediction candidates in the subset

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                                                 EXHIBIT 9
                                     UNITED STATES PATENT NO. 10,536,714
                      CLAIM CHART FOR INFRINGEMENT OF CLAIM 9 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 10,536,714                                           ASUS ACCUSED PRODUCTS
                             (A1) of spatial motion vector prediction candidates. See Step 6 in Subclause 8.5.3.2.3. Motion information
                             of spatial motion vector prediction candidate at position A0 is not compared with motion information of B1,
                             B0, and B2. In this example, the Accused Products check whether motion information at position A0 is equal
                             to motion information at position A1. See Step 6 in Subclause 8.5.3.2.3. If motion information at position
                             A0 is equal to motion information at position A1, then A0 will not be included in the list.

                                    8.5.3.2.3 Derivation process for spatial merging candidates
                                    ...
                                    For the derivation of availableFlagB1, refIdxLXB1, predFlagLXB1 and mvLXB1 the following
                                    applies:
                                    –       The luma location ( xNbB1, yNbB1 ) inside the neighbouring luma coding block is set equal
                                    to ( xPb + nPbW − 1, yPb − 1 ).
                                    ...
                                    –      The variables availableFlagB1, refIdxLXB1, predFlagLXB1 and mvLXB1 are derived as
                                    follows:
                                    – If one or more of the following conditions are true, availableFlagB1 is set equal to 0, both
                                    components of mvLXB1 are set equal to 0, refIdxLXB1 is set equal to −1 and predFlagLXB1 is set
                                    equal to 0, with X being 0 or 1:
                                    ...
                                     1. availableB1 is equal to FALSE.
                                     2. availableA1 is equal to TRUE and the prediction units covering the luma locations
                                        ( xNbA1, yNbA1 ) and ( xNbB1, yNbB1 ) have the same motion vectors and the same reference
                                        indices.
                                    –    Otherwise, availableFlagB1 is set equal to 1 and the following assignments are made:
                                           mvLXB1 = MvLX[ xNbB1 ][ yNbB1 ]                         (8-131)
                                           refIdxLXB1 = RefIdxLX[ xNbB1 ][ yNbB1 ]                 (8-132)


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                                                 EXHIBIT 9
                                     UNITED STATES PATENT NO. 10,536,714
                      CLAIM CHART FOR INFRINGEMENT OF CLAIM 9 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 10,536,714                                     ASUS ACCUSED PRODUCTS
                                          predFlagLXB1 = PredFlagLX[ xNbB1 ][ yNbB1 ]            (8-133)
                                   For the derivation of availableFlagB0, refIdxLXB0, predFlagLXB0 and mvLXB0 the following
                                   applies:
                                   –       The luma location ( xNbB0, yNbB0 ) inside the neighbouring luma coding block is set equal
                                   to ( xPb + nPbW, yPb − 1 ).
                                   ...
                                   –      The variables availableFlagB0, refIdxLXB0, predFlagLXB0 and mvLXB0 are derived as
                                   follows:
                                   – If one or more of the following conditions are true, availableFlagB0 is set equal to 0, both
                                   components of mvLXB0 are set equal to 0, refIdxLXB0 is set equal to −1 and predFlagLXB0 is set
                                   equal to 0, with X being 0 or 1:
                                   ...
                                   3. availableB0 is equal to FALSE.
                                   4. availableB1 is equal to TRUE and the prediction units covering the luma locations
                                      ( xNbB1, yNbB1 ) and ( xNbB0, yNbB0 ) have the same motion vectors and the same reference
                                      indices.
                                   –    Otherwise, availableFlagB0 is set equal to 1 and the following assignments are made:
                                          mvLXB0 = MvLX[ xNbB0 ][ yNbB0 ] (8-134)
                                          refIdxLXB0 = RefIdxLX[ xNbB0 ][ yNbB0 ] (8-135)
                                          predFlagLXB0 = PredFlagLX[ xNbB0 ][ yNbB0 ] (8-136)
                                   For the derivation of availableFlagA0, refIdxLXA0, predFlagLXA0 and mvLXA0 the following
                                   applies:

                                   – The luma location ( xNbA0, yNbA0 ) inside the neighbouring luma coding block is set equal to (
                                   xPb − 1, yPb + nPbH ).


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                                                 EXHIBIT 9
                                     UNITED STATES PATENT NO. 10,536,714
                      CLAIM CHART FOR INFRINGEMENT OF CLAIM 9 BY ASUS ACCUSED PRODUCTS

U.S. PATENT NO. 10,536,714                                        ASUS ACCUSED PRODUCTS
                                   ...
                                   – The variables availableFlagA0, refIdxLXA0, predFlagLXA0 and mvLXA0 are derived as
                                   follows:

                                   – If one or more of the following conditions are true, availableFlagA0 is set equal to 0, both
                                   components of mvLXA0 are set equal to 0, refIdxLXA0 is set equal to −1 and predFlagLXA0 is
                                   set equal to 0, with X being 0 or 1:

                                   5. availableA0 is equal to FALSE.
                                   6. availableA1 is equal to TRUE and the prediction units covering the luma locations ( xNbA1,
                                   yNbA1 ) and ( xNbA0, yNbA0 ) have the same motion vectors and the same reference indices.

                                   – Otherwise, availableFlagA0 is set equal to 1 and the following assignments are made:
                                          mvLXA0 = MvLX[ xNbA0 ][ yNbA0 ] (8-137)
                                          refIdxLXA0 = RefIdxLX[ xNbA0 ][ yNbA0 ] (8-138)
                                          predFlagLXA0 = PredFlagLX[ xNbA0 ][ yNbA0 ] (8-139)
                                   For the derivation of availableFlagB2, refIdxLXB2, predFlagLXB2 and mvLXB2 the following
                                   applies:

                                   – The luma location ( xNbB2, yNbB2 ) inside the neighbouring luma coding block is set equal to (
                                   xPb − 1, yPb − 1 ).
                                   ...
                                   – The variables availableFlagB2, refIdxLXB2, predFlagLXB2 and mvLXB2 are derived as
                                   follows:




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U.S. PATENT NO. 10,536,714                                           ASUS ACCUSED PRODUCTS
                                    – If one or more of the following conditions are true, availableFlagB2 is set equal to 0, both
                                    components of mvLXB2 are set equal to 0, refIdxLXB2 is set equal to −1 and predFlagLXB2 is set
                                    equal to 0, with X being 0 or 1:

                                    7. availableB2 is equal to FALSE.
                                    8. availableA1 is equal to TRUE and prediction units covering the luma locations ( xNbA1, yNbA1
                                    ) and ( xNbB2, yNbB2 ) have the same motion vectors and the same reference indices.
                                    9. availableB1 is equal to TRUE and the prediction units covering the luma locations ( xNbB1,
                                    yNbB1 ) and ( xNbB2, yNbB2 ) have the same motion vectors and the same reference indices.
                                    10. availableFlagA0 + availableFlagA1 + availableFlagB0 + availableFlagB1 is equal to 4.

                                    – Otherwise, availableFlagB2 is set equal to 1 and the following assignments are made:
                                           mvLXB2 = MvLX[ xNbB2 ][ yNbB2 ] (8-140)
                                           refIdxLXB2 = RefIdxLX[ xNbB2 ][ yNbB2 ] (8-141)
                                           predFlagLXB2 = PredFlagLX[ xNbB2 ][ yNbB2 ] (8-142)
                             ITU-T Rec. H.265 (12/2016) High efficiency video coding at pp. 150-152.
                                    8.5.3.2.7 Derivation process for motion vector predictor candidates
                                    ...




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                                                    EXHIBIT 9
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                                                               Figure 8-3 – Spatial motion vector neighbours (informative)

                                ITU-T Rec. H.265 (12/2016) High efficiency video coding at p. 156.

[E] determining to include or   Each of the Accused Products, such as the ASUS Q543MV, performs a method comprising determining to
exclude the first spatial       include or exclude the first spatial motion vector prediction candidate in the motion vector prediction list
motion vector prediction        based on the comparing.
candidate in the motion
vector prediction list based    For example, and as explained above, when considering the spatial motion vector prediction candidate at
on the comparing; and           position B2, the Accused Products compare motion information for spatial motion vector prediction
                                candidate at position B2 with motion information of spatial motion vector prediction candidates in the subset
                                (B1, A1) of spatial motion vector prediction candidates. See Steps 8 and 9 in Subclause 8.5.3.2.3. Motion
                                information of spatial motion vector prediction candidate at position B2 is not compared with motion
                                information of A0, and B0. In this example, the Accused Products checks whether motion information at
                                position B2 is equal to motion information at position B1 and motion information at position A1. See Steps
                                8 and 9 in Subclause 8.5.3.2.3. If motion information at position B2 is equal to motion information at either
                                position B1 or A1, then B2 will not be included in the list.

                                As another example, and as also explained above, the Accused Products compare motion information for
                                spatial motion vector prediction candidate at position A0 with motion information of spatial motion vector
                                prediction candidates in the subset (A1) of spatial motion vector prediction candidates. See Step 6 in
                                Subclause 8.5.3.2.3. Motion information of spatial motion vector prediction candidate at position A0 is not

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                             compared with motion information of B1, B2, and B0. In this example, the Accused Products check whether
                             motion information at position A0 is equal to motion information at position A1. See Step 6 in Subclause
                             8.5.3.2.3. If motion information at position A0 is equal to motion information at position A1, then A0 will
                             not be included in the list.

                                    8.5.3.2.3 Derivation process for spatial merging candidates
                                    ...
                                    For the derivation of availableFlagB1, refIdxLXB1, predFlagLXB1 and mvLXB1 the following
                                    applies:
                                    –       The luma location ( xNbB1, yNbB1 ) inside the neighbouring luma coding block is set equal
                                    to ( xPb + nPbW − 1, yPb − 1 ).
                                    ...
                                    –      The variables availableFlagB1, refIdxLXB1, predFlagLXB1 and mvLXB1 are derived as
                                    follows:
                                    – If one or more of the following conditions are true, availableFlagB1 is set equal to 0, both
                                    components of mvLXB1 are set equal to 0, refIdxLXB1 is set equal to −1 and predFlagLXB1 is set
                                    equal to 0, with X being 0 or 1:
                                    ...
                                     5. availableB1 is equal to FALSE.
                                     6. availableA1 is equal to TRUE and the prediction units covering the luma locations
                                        ( xNbA1, yNbA1 ) and ( xNbB1, yNbB1 ) have the same motion vectors and the same reference
                                        indices.
                                    –    Otherwise, availableFlagB1 is set equal to 1 and the following assignments are made:
                                           mvLXB1 = MvLX[ xNbB1 ][ yNbB1 ]                         (8-131)
                                           refIdxLXB1 = RefIdxLX[ xNbB1 ][ yNbB1 ]                 (8-132)
                                           predFlagLXB1 = PredFlagLX[ xNbB1 ][ yNbB1 ]             (8-133)

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                                   For the derivation of availableFlagB0, refIdxLXB0, predFlagLXB0 and mvLXB0 the following
                                   applies:
                                   –       The luma location ( xNbB0, yNbB0 ) inside the neighbouring luma coding block is set equal
                                   to ( xPb + nPbW, yPb − 1 ).
                                   ...
                                   –      The variables availableFlagB0, refIdxLXB0, predFlagLXB0 and mvLXB0 are derived as
                                   follows:
                                   – If one or more of the following conditions are true, availableFlagB0 is set equal to 0, both
                                   components of mvLXB0 are set equal to 0, refIdxLXB0 is set equal to −1 and predFlagLXB0 is set
                                   equal to 0, with X being 0 or 1:
                                   ...
                                   7. availableB0 is equal to FALSE.
                                   8. availableB1 is equal to TRUE and the prediction units covering the luma locations
                                      ( xNbB1, yNbB1 ) and ( xNbB0, yNbB0 ) have the same motion vectors and the same reference
                                      indices.
                                   –     Otherwise, availableFlagB0 is set equal to 1 and the following assignments are made:
                                           mvLXB0 = MvLX[ xNbB0 ][ yNbB0 ] (8-134)
                                           refIdxLXB0 = RefIdxLX[ xNbB0 ][ yNbB0 ] (8-135)
                                           predFlagLXB0 = PredFlagLX[ xNbB0 ][ yNbB0 ] (8-136)
                                   For the derivation of availableFlagA0, refIdxLXA0, predFlagLXA0 and mvLXA0 the following
                                   applies:

                                   – The luma location ( xNbA0, yNbA0 ) inside the neighbouring luma coding block is set equal to (
                                   xPb − 1, yPb + nPbH ).
                                   ...


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U.S. PATENT NO. 10,536,714                                       ASUS ACCUSED PRODUCTS
                                   – The variables availableFlagA0, refIdxLXA0, predFlagLXA0 and mvLXA0 are derived as
                                   follows:

                                   – If one or more of the following conditions are true, availableFlagA0 is set equal to 0, both
                                   components of mvLXA0 are set equal to 0, refIdxLXA0 is set equal to −1 and predFlagLXA0 is
                                   set equal to 0, with X being 0 or 1:

                                   5. availableA0 is equal to FALSE.
                                   6. availableA1 is equal to TRUE and the prediction units covering the luma locations ( xNbA1,
                                   yNbA1 ) and ( xNbA0, yNbA0 ) have the same motion vectors and the same reference indices.

                                   – Otherwise, availableFlagA0 is set equal to 1 and the following assignments are made:
                                          mvLXA0 = MvLX[ xNbA0 ][ yNbA0 ] (8-137)
                                          refIdxLXA0 = RefIdxLX[ xNbA0 ][ yNbA0 ] (8-138)
                                          predFlagLXA0 = PredFlagLX[ xNbA0 ][ yNbA0 ] (8-139)
                                   For the derivation of availableFlagB2, refIdxLXB2, predFlagLXB2 and mvLXB2 the following
                                   applies:

                                   – The luma location ( xNbB2, yNbB2 ) inside the neighbouring luma coding block is set equal to (
                                   xPb − 1, yPb − 1 ).
                                   ...
                                   – The variables availableFlagB2, refIdxLXB2, predFlagLXB2 and mvLXB2 are derived as
                                   follows:

                                   – If one or more of the following conditions are true, availableFlagB2 is set equal to 0, both
                                   components of mvLXB2 are set equal to 0, refIdxLXB2 is set equal to −1 and predFlagLXB2 is set
                                   equal to 0, with X being 0 or 1:


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                                    7. availableB2 is equal to FALSE.
                                    8. availableA1 is equal to TRUE and prediction units covering the luma locations ( xNbA1, yNbA1
                                    ) and ( xNbB2, yNbB2 ) have the same motion vectors and the same reference indices.
                                    9. availableB1 is equal to TRUE and the prediction units covering the luma locations ( xNbB1,
                                    yNbB1 ) and ( xNbB2, yNbB2 ) have the same motion vectors and the same reference indices.
                                    10. availableFlagA0 + availableFlagA1 + availableFlagB0 + availableFlagB1 is equal to 4.

                                    – Otherwise, availableFlagB2 is set equal to 1 and the following assignments are made:
                                           mvLXB2 = MvLX[ xNbB2 ][ yNbB2 ] (8-140)
                                           refIdxLXB2 = RefIdxLX[ xNbB2 ][ yNbB2 ] (8-141)
                                           predFlagLXB2 = PredFlagLX[ xNbB2 ][ yNbB2 ] (8-142)
                             ITU-T Rec. H.265 (12/2016) High efficiency video coding at pp. 150-152.
                                    8.5.3.2.7 Derivation process for motion vector predictor candidates
                                    ...




                                                          Figure 8-3 – Spatial motion vector neighbours (informative)

                             ITU-T Rec. H.265 (12/2016) High efficiency video coding at p. 156.

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U.S. PATENT NO. 10,536,714                                              ASUS ACCUSED PRODUCTS

[F] selecting a spatial motion   Each of the Accused Products, such as the ASUS Q543MV, performs a method comprising selecting a
vector prediction candidate      spatial motion vector prediction candidate from the motion vector prediction list for use in decoding the
from the motion vector           encoded block of pixels, wherein the spatial motion vector prediction candidate is selected from the motion
prediction list for use in       vector prediction list using information that was received identifying a respective spatial motion vector
decoding the encoded block       prediction candidate from the motion vector prediction list constructed by an encoder.
of pixels, wherein the spatial
motion vector prediction         For example, the Accused Products receive syntax element merge_idx from the bitstream. See Subclause
candidate is selected from the   7.3.8.6. The Accused Products select the motion vector prediction candidate at position merge_idx in the
motion vector prediction list    merging candidate list mergeCandList. See Step 9 in Subclause 8.5.3.2.2. The Accused Products then use
using information that was       that motion vector in decoding the current block.
received identifying a
respective spatial motion             3 Definitions
vector prediction candidate           For the purposes of this Recommendation | International Standard, the following definitions apply.
from the motion vector                ...
prediction list constructed by
an encoder.                           3.153 syntax element: An element of data represented in the bitstream.
                                      3.154 syntax structure: Zero or more syntax elements present together in the bitstream in a
                                      specified order.

                                 ITU-T Rec. H.265 (12/2016) High efficiency video coding at pp. 5, 7-12.


                                      5.10 Variables, syntax elements and tables
                                      Syntax elements in the bitstream are represented in bold type. Each syntax element is described by
                                      its name (all lower case letters with underscore characters), and one descriptor for its method of
                                      coded representation. The decoding process behaves according to the value of the syntax element
                                      and to the values of previously decoded syntax elements. When a value of a syntax element is used
                                      in the syntax tables or the text, it appears in regular (i.e., not bold) type.


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                             ITU-T Rec. H.265 (12/2016) High efficiency video coding at p. 18.


                                  7     Syntax and semantics
                                  7.1 Method of specifying syntax in tabular form
                                  The syntax tables specify a superset of the syntax of all allowed bitstreams . . .
                                  ...
                                  . . . When syntax_element appears, it specifies that a syntax element is parsed from the bitstream . . .
                                  ...
                                  7.2 Specification of syntax functions and descriptors
                                  ...
                                  The following descriptors specify the parsing process of each syntax element:
                                  – ae(v): context-adaptive arithmetic entropy-coded syntax element. The parsing process for this
                                  descriptor is specified in clause 9.3.
                                  ...
                             ITU-T Rec. H.265 (12/2016) High efficiency video coding at pp. 30-31.

                                      7.3.8.6 Prediction unit syntax




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                                  7.4.9.6 Prediction unit semantics
                                  ...




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                                  merge_idx[ x0 ][ y0 ] specifies the merging candidate index of the merging candidate list where x0,
                                  y0 specify the location ( x0, y0 ) of the top-left luma sample of the considered prediction block
                                  relative to the top-left luma sample of the picture.

                                  When merge_idx[ x0 ][ y0 ] is not present, it is inferred to be equal to 0.

                             ITU-T Rec. H.265 (12/2016) High efficiency video coding at p. 107.

                                  8.5.3.2.2 Derivation process for luma motion vectors for merge mode
                                  ...
                                  Outputs of this process are as follows, with X being 0 or 1:
                                  ...
                                  -     the reference indices refIdxLXA0, refIdxLXA1, refIdxLXB0, refIdxLXB1 and refIdxLXB2 of the
                                        neighbouring prediction units,
                                  ...
                                  -     the motion vectors mvLXA0, mvLXA1, mvLXB0, mvLXB1 and mvLXB2 of the neighbouring
                                        prediction units.
                                  ...
                                  5. The merging candidate list, mergeCandList, is constructed as follows:
                                            i=0
                                            if( availableFlagA1 )
                                                     mergeCandList[ i++ ] = A1
                                            if( availableFlagB1 )
                                                     mergeCandList[ i++ ] = B1
                                            if( availableFlagB0 )
                                                     mergeCandList[ i++ ] = B0
                                            if( availableFlagA0 )

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                                                     mergeCandList[ i++ ] = A0
                                            if( availableFlagB2 )
                                                     mergeCandList[ i++ ] = B2
                                            if( availableFlagCol )
                                                     mergeCandList[ i++ ] = Col

                                  ...
                                  9. The following assignments are made with N being the candidate at position merge_idx[ xOrigP ][
                                     yOrigP ] in the merging candidate list mergeCandList ( N = mergeCandList[ merge_idx[ xOrigP
                                     ][ yOrigP ] ] ) and X being replaced by 0 or 1:
                                            refIdxLX = refIdxLXN                                                           (8-120)
                                            predFlagLX = predFlagLXN                                                       (8-121)
                                      1. When use_integer_mv_flag is equal to 0 and the reference picture is not the current picture,
                                         the following applies:
                                            mvLX[ 0 ] = mvLXN[ 0 ]                                                         (8-122)
                                            mvLX[ 1 ] = mvLXN[ 1 ]                                                         (8-123)
                                  ...

                             ITU-T Rec. H.265 (12/2016) High efficiency video coding at pp. 147-149.

                                  9     Parsing process
                                  9.1 General
                                  Inputs to this process are bits …
                                  Outputs of this process are syntax element values.
                                  This process is invoked when the descriptor of a syntax element in the syntax tables in clause 7.3 is
                                  equal to ue(v), se(v) (see clause 9.2), or ae(v) (see clause 9.3).


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                             ITU-T Rec. H.265 (12/2016) High efficiency video coding at p. 198.

                                  9.3    CABAC parsing process for slice segment data
                                  9.3.1 General
                                  This process is invoked when parsing syntax elements with descriptor ae(v) in clauses 7.3.8.1
                                  through 7.3.8.11.
                                  Inputs to this process are a request for a value of a syntax element and values of prior parsed syntax
                                  elements.
                                  Output of this process is the value of the syntax element.

                             ITU-T Rec. H.265 (12/2016) High efficiency video coding at p. 201.




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